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1    QUIN DENVIR, Bar #49374
     Federal Defender
2
     MATTHEW C. BOCKMON, Bar #161566
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant
     PABLO GARIBAY CARDENAS
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8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       ) NO. CR-S-05-364 LKK
                                     )
14                  Plaintiff,       )
                                     ) ORDER FOLLOWING HEARING
15        v.                         )
                                     )
16   PABLO GARIBAY CARDENAS and      )
     DAMASO GUADALUPE CARDENAS,      ) Judge: Hon. Lawrence K. Karlton
17                                   )
                    Defendants.      )
18   _______________________________ )
19        This matter was before the court on September 27, 2005 for status
20   hearing.   The government was represented by its counsel, Samuel Wong,
21   Assistant United States Attorney; defendant, Pablo Garibay Cardenas,
22   was present with his counsel, Matthew C. Bockmon, Assistant Federal
23   Defender; and defendant, Damaso Guadalupe Gudino Cardenas, was present
24   with his counsel, Fred Dawson.
25        Defense counsel advised the Court that there is ongoing
26   investigation in both matters and requested additional time.
27        Good cause appearing therefor,
28        IT IS ORDERED that both matters are continued to October 25, 2005
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1    at 9:30 a.m. for further Status Conference.
2          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
3    (iv) and Local Code T4, the period from September 27, 2005 to
4    October 25, 2005 is excluded from the time computations required by the
5    Speedy Trial Act due to ongoing preparation of counsel.
6    Dated: October 3, 2005
7                                       /s/Lawrence K.Karlton
                                        HONORABLE LAWRENCE K. KARLTON
8                                       Senior Judge, U.S. District Court
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     Order Following Hearing                  2
